

People v Flanders (2024 NY Slip Op 01351)





People v Flanders


2024 NY Slip Op 01351


Decided on March 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 14, 2024

Before: Manzanet-Daniels, J.P., Singh, Gesmer, Higgitt, JJ. 


Ind. No. 2213/16 C Appeal No. 11993 Case No. 2018-4000 

[*1]The People of The State of New York, Respondent, 
vMichael Flanders, Defendant-Appellant.





An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Maxwell Wiley, J. at omnibus motion; Abraham Clott, J. at renewed motion, plea, and sentencing), rendered May 18, 2017,
And said appeal having been argued by counsel for the respective parties, and due deliberation having been had thereon, and a decision and order of this Court having been entered on October 8, 2020, holding the appeal in abeyance;
It is unanimously ordered that the said appeal be and the same is hereby dismissed in accordance with the terms of the unopposed motion (M-2023-04387).
ENTERED: March 14, 2024








